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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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       ROBERT GEORGE HOGARTH,
 10                                                   Case No. 5:21-cv-1497-DSF (MAR)
                       Petitioner,
 11                v.
 12                                                   ORDER DENYING CERTIFICATE
       MERRICK GARLAND, ET AL.,                       OF APPEALABILITY
 13                     Respondents.
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 16         Rule 11 of the Rules Governing Section 2254 Cases in the United States
 17   District Courts reads as follows:
 18                 (a)    Certificate of Appealability. The district court must issue
            or deny a certificate of appealability when it enters a final order adverse to
 19         the applicant. Before entering the final order, the court may direct the
 20         parties to submit arguments on whether a certificate should issue. If the
            court issues a certificate, the court must state the specific issue or issues
 21         that satisfy the showing required by 28 U.S.C. § 2253(c)(2). If the court
 22         denies a certificate, the parties may not appeal the denial but may seek a
            certificate from the court of appeals under Federal Rule of Appellate
 23         Procedure 22. A motion to reconsider a denial does not extend the time
 24         to appeal.
                    (b) Time to Appeal. Federal Rule of Appellate Procedure 4(a)
 25         governs the time to appeal an order entered under these rules. A timely
 26         notice of appeal must be filed even if the district court issues a certificate
            of appealability.
 27
            Under 28 U.S.C. § 2253(c)(2), a Certificate of Appealability may issue “only if
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      the applicant has made a substantial showing of the denial of a constitutional right.”
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  1   The Supreme Court has held that this standard means a showing that “reasonable
  2   jurists could debate whether (or, for that matter, agree that) the petition should have
  3   been resolved in a different manner or that the issues presented were ‘adequate to
  4   deserve encouragement to proceed further.’ ” Slack v. McDaniel, 529 U.S. 473, 483–
  5   84 (2000).
  6         Here, this action was dismissed because Petitioner is a member of a mandatory
  7   class action that seeks the same relief based on the same allegations as the instant
  8   Petition. The Court finds that reasonable jurists would not find debatable the
  9   propriety of the action’s dismissal.
 10         Accordingly, a Certificate of Appealability is DENIED.
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 12    DATED: September 14, 2021
 13                                            Honorable Dale S. Fischer
                                               UNITED STATES DISTRICT JUDGE
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